               Case 1:21-cv-01298-RC Document 37-14 Filed 03/21/23 Page 1 of 3


     Vaughn Index – Veterans Health Administration, Department of Veterans Affairs
                  Nat’l Ass’n of Minority Veterans v. U.S. Department of Veterans Affairs


 Bates       Document           FOIA          Withholding
                                                                           Exemption Justification
Numbers      Description      Exemption       Description

00001-    Pre-decisional      b (5) – DP   Withheld in full,      This document is a pre-decisional
00018     draft of                         except for last page   unnumbered draft VHA Directive. It is an
          unnumbered                       which is blank         inter-agency document containing
          VHA Directive                    except for the         deliberative conversations expressing
          Workplace                        document heading.      opinions on policy and legal matters. It is
          Violence                                                not a final decision of the agency.
          Prevention                                              Disclosure would serve only to confuse the
          Program,                                                public and discourage frank and open
          11MHSP -                                                discussion on matters of policy. As noted in
          Mental Health                                           the provided Initial Agency Decision, issued
          and Suicide                                             on December 22, 2021, a copy of the final
          Prevention                                              and approved VHA directive regarding
                                                                  workplace violence may be found at
                                                                  https://www.va.gov/vhapublications/publica
                                                                  tions.cfm?Pub=1

                                                                  The author of the pre-decisional document
                                                                  was the VHA Office of Patient Care
                                                                  Services and if the document was released it
                                                                  would impair VHA operations as the
                                                                  document. The document contains
                                                                  discussion between VA employees
                                                                  regarding adoption or rejection of ideas,
                                                                  policies, language, and legal requirements.
                                                                  They also contain discussion about union
                                                                  matters that could hamper or impede future
                                                                  labor negotiations. Release of these types of
                                                                  deliberations is exactly what b(5) was
                                                                  designed to protect form disclosure so that a
                                                                  free flow of ideas is encouraged, not
                                                                  suppressed. Release of these documents
                                                                  would suppress open discussion about any
                                                                  future policies.

                                                                  The final document that was produced,
                                                                  referenced above, makes no reference to
                                                                  these pre-decisional documents and the
                                                                  agency has not expressly adopted or
                                                                  incorporated by reference these pre-
                                                                  decisional deliberative documents. Thus,
                                                                  b(5) protections remain applicable.
   VA Veterans Health Administration
   Vaughn Index                                                                                  1
               Case 1:21-cv-01298-RC Document 37-14 Filed 03/21/23 Page 2 of 3



 Bates       Document           FOIA         Withholding
                                                                      Exemption Justification
Numbers      Description      Exemption      Description


                                                             The final issued Directive has been
                                                             provided in full to Plaintiff and receiving
                                                             these pre-decisional documents would result
                                                             in revealing the exact types of deliberations
                                                             on pre-decisional documents that are
                                                             protected by b(5). These discussions are
                                                             both pre-decisional and deliberative and
                                                             disclosure would serve only to confuse the
                                                             public and discourage frank and open
                                                             discussion on matters of policy.


00019-    Acting Deputy       b (6)       Withheld in Part   Lower-level employee names have been
00020     Under Secretary                                    withheld under b(6) as these employees’
          for Health for                                     privacy interest exceeds the interest of the
          Operations and                                     public in disclosure. Further, email
          Management.                                        addresses, phone numbers, and signatures
          “Meeting New                                       have been withheld as again the privacy
          Mandatory                                          interest exceeds the public interest in
          Safety Training                                    disclosure and disclosure would provide no
          Requirements                                       greater insight into the operations of the
          using Veterans                                     government.
          Health
          Administration’s
          Prevention and
          Management of
          Disruptive
          Behavior
          (PMDB)
          Curriculum.”
          Memorandum.
          November 7,
          2013.

00021     Report of           b(5) - DP   Withheld in Part   This Report of Contact involves notes of a
          Contact                                            June 19, 2017 review discussion and follow
                              b(6)                           up call on June 28, 2017, between the
                                                             Director of the VHA Workplace Violence
                                                             Prevention Program and other VA
                                                             employees. It concerns discussions about
                                                             limiting the escalation of disruptive
                                                             behavior and the notification of patients.
                                                             The communications directly concern the


   VA Veterans Health Administration
   Vaughn Index                                                                             2
               Case 1:21-cv-01298-RC Document 37-14 Filed 03/21/23 Page 3 of 3



 Bates       Document           FOIA         Withholding
                                                                          Exemption Justification
Numbers      Description      Exemption      Description

                                                                 development of specific policy in the draft
                                                                 Directive.

                                                                 Policy recommendations and frank and
                                                                 open discussion regarding policy issues
                                                                 have been withheld under b(5). These
                                                                 discussions are both pre-decisional and
                                                                 deliberative and disclosure would serve
                                                                 only to confuse the public and discourage
                                                                 frank and open discussion on matters of
                                                                 policy.

                                                                 Lower-level employees names have been
                                                                 withheld under b(6) as these employees’
                                                                 privacy interest exceeds the interest of the
                                                                 public in disclosure and disclosure would
                                                                 provide no greater insight into the
                                                                 operations of the government.


00022-    VHA Center for b (6)            Released in full,      Lower-level employee names have been
00129     Engineering and                 except for names on    withheld under b(6) as these employees’
          Occupational                    two pages that list    privacy interest exceeds the interest of the
          Safety and                      names of individuals   public in disclosure and disclosure would
          Health,                         who contributed in     provide no greater insight into the
          Employee Threat                 different capacities   operations of the government.
          Assessment                      to the guidebook.
          Team (ETAT):
          A Guidebook for
          Managing Risks
          Posed by the
          Disruptive and
          Threatening
          Employee, April
          2016.




   VA Veterans Health Administration
   Vaughn Index                                                                                  3
